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3                                               EXHIBIT B

4                 COMPENSATION BY CATEGORY FOR SERVICES RENDERED
                      BY DELOITTE & TOUCHE LLP FOR THE PERIOD
5                          JULY 1, 2019 THROUGH JULY 31, 2019

6

7    Categories                                                   Hours                        Fees
     2019 Audit Services                                         1,963.0               $410,633.00
8
     AB 1054 Wildfire Fund                                         111.1                $75,934.00
9    Accounting Consultations                                        9.7                 $3,783.00
     California Wildfires                                           64.3                $37,458.00
10
     Lease Accounting Services                                       2.5                  $872.50
11   New Accounting Standards                                       42.0                $16,671.00
     Post Bankruptcy Matters                                        98.0                $50,178.00
12
     Preparation of Fee Applications                                32.1                 $6,969.00
13   Regulatory Accounting                                           4.5                 $2,616.00
     Fees Category Subtotal :                                    2,327.2               $605,114.50
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